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                           UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 SAMER I. BAKRI,

                       Plaintiff,

 vs.                                                Civil Action No. 1:19-cv-10621 -WGY


 BERKLEE COLLEGE OF MUSIC, INC.,

                       Defendant.




             LOCAL RULE 16.I(<D JOINT STATEMENT OF THE PARTIES

       Pursuant to Fed. R. Civ. P. 26(f) counsel for Plaintiff Samer I. Bakri ("Plaintiff or "Mr.

Bakri") and counsel for Defendant Berklee College of Music, Inc. ("Defendant" or "Berklee")

have conferred and submit this Joint Statement pursuant to Local Rule 16.1(d).

I.     Agenda of Matters to Be Discussed at Scheduling Conference

       A.     Proposed Pretrial Schedule
                                                         lOWfG, D.J.
               1.     Initial Disclosures                So ordered/as the case manage:
                                                         scheduling
               2.     Discovery Plan                          Discovery Hno
                                                                  Dispositive Motions duej
               3.     Motion Schedule
                                                         •T.S.    Distri
               4.     Pretrial Conference


       B.      Settlement Proposal/Mediation/Altemative Dispute Resolution

       C.      Trial by a Magistrate Judge

       D.      Any other matter listed in Fed. R. Civ. P. 16(c)

H.     Proposed Fre-Trial Schedule

       A,      Initial Disclosures. Initial Disclosures required by Fed. R. Civ. P. 26(a)(1) must
               be completed by Mav 13.2019.
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B.   Amendments to Pleadings. Except for good cause shown, no motions seeking to
     add new parties or to amend the pleadings to assert new claims or defenses may
     be filed after Mav 29.2019.


C.   Fact Discovery - Interim Deadlines.

     1.     All requests for production of documents and interrogatories must be
            served no later than August 29. 2019.


     2.     All requests for admissions must be served no later than forty-five (45)
            days prior to the start of trial.

     3.     All depositions, other than expert depositions, must be completed no later
            than October 25.2019.


D.   Fact Discoverv - Final Deadline. All discovery, other than expert discovery, must
     be completed no later than October 25. 2019.

E.   Expert Discoverv.


     1.     Plaintiffs trial expert(s) must be designated, and the information
            contemplated by Fed. R. Civ. P. 26(a)(2) must be disclosed no later than
            November 15.2019.


     2.     Defendant's trial expert(s) must be designated, and the information
            contemplated by Fed. R. Civ. P. 26(a)(2) must be disclosed no later than
            December 30.2019.


     3.     The depositions of all trial experts must be completedno later than
            Februarv 13. 2020. with the deposition of the Plaintiffs expert(s) to
            precede the deposition of the Defendant's expert(s).

F.   Dispositive Motions.

     1.     Dispositive motions, suchas motions for summary judgment or partial
            summary judgmentand motions forjudgmenton the pleadings, must be
            filed no later than March W. 2020.

     2.     Oppositions to dispositive motions must be filed withinth»ty-(3d) days
            after service of the motion.

     3.     Replybriefsmay be filed withinfifteen (15) days after service of an
            Opposition.
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III.   Trial bv Magistrate

       The parties do not consent to a trial by magistrate judge.

IV.    Stipulation

       The parties request that the Court permit them to stipulate to a modest extension of the
       deadlines outlined above if circumstances warrant such an extension.

V.     Phased Discovery

       In preparing this Joint Statement, the parties have taken into account the desirabilityof
       conductingphased discovery. The parties have consideredand do not believe that a
       proposed agreement governingthe preservationand production of electronically stored
       information is necessary in this case.

VI.    Local Rule 16.1(dJ(3^ Certifications

       The Parties will file their certifications pursuant to Local Rule 16.1(d)(3) separately.



Respectfully submitted,                              Respectfully submitted,

SAMERI. BAKRI,                                        BERKLEE COLLEGE OF MUSIC, INC.,


By his Attorneys,                                     By its Attorneys,

/s/ Joseph S. Provanzano                             /s/ Laurie R. Bishop
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DATED: April 29, 2019                                 DATED: April 29,2019
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                                 CERTIFICATE OF SERVICE


       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on April 29,2019.


                                                      /s/ Laurie R. Bishop
                                                      Laurie R. Bishop
